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 6
      Attorneys on behalf of Law Offices of
 7    Ronald Richards & Associates, A.P.C., the
      general public, the media, and those similarly
 8    situated
 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13    UNITED STATES OF AMERICA               Case No: SA CR 19-061-JVS
14
15
                      Plaintiff,             REQUEST FOR REMOTE PUBLIC
16                                           ACCESS VIA A CALL IN NUMBER
17          v.                               OR ZOOM CALL IN
18    MICHAEL JOHN AVENATTI,

19                    Defendant

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 1           This request for remote public access is filed on behalf of the Law Offices of
 2    Ronald Richards & Associates, A.P.C., the general public, the media, and those
 3    similarly situated. The court staff directed counsel that a request for public access
 4    needs to be made to the Honorable Judge. Therefore, this request is seeking the
 5    Judge’s approval.
 6           The current trend is to allow the public to listen remotely to court
 7    proceedings, rather than attending in person1. Listening and attending a proceeding
 8    remotely has proven to work well. It limits the need for the public to attend in
 9    person and crowd the courtrooms. There would be no disruptions to the
10    proceedings. The Court’s current General Order allows for public access (Exh. A)
11    and the technical capabilities are already in place. It makes sense for the public to
12    have a mechanism to listen to this case and the trial scheduled for next week.
13    Counsel wished to request public access beginning July 13, 2021 for jury selection
14    but is willing to forego early access and just have access from July 20, 2021 for
15    opening statements. The recording can originate in the overflow courtroom or from
16    the Courtroom itself.
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             1
               See In re Press & Pub. Access to Video Exhibits in Capitol Riot Cases, No. MC 21-46
22    (BAH), 2021 WL 1946378, at *7 (D.D.C. May 14, 2021), granting request for issuance of a
      standing order to provide a streamlined means in Court for making video exhibits in Capital
23    Cases accessible to the media (“The D.C. Circuit has explained that “there is a ‘strong
      presumption in favor of public access to judicial proceedings,’ including judicial records.” In re
24    Leopold to Unseal Certain Electronic Surveillance Applications and Orders, 964 F.3d 1121,
      1127 (D.C. Cir. 2020) (quoting United States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1980)”);
25    see also Epic Games, Inc. v. Apple Inc., No. 4:20-CV-05640-YGR, 2021 WL 2350812, at *1
      (N.D. Cal. Apr. 21, 2021) [“…the Court orders a specific telephone line for media specifically
26    and for the attorneys for the Class Plaintiffs to ensure that they have access to the audio. To
      access this telephone line…”)
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 1           This honorable Court should respectfully allow and provide for a public
 2    access line, consistent with Mr. Avenatti’s New York case that was being heard in
 3    the U.S District Court for the Southern District of New York, USA v. Avenatti, Case
 4    No. 8:19-cr-00061-JVS. The New York Court allowed the press and public to
 5    obtain access to Mr. Avenatti’s sentencing by phone. (See Exh. B).
 6           In USA v. Avenatti, Case No. 8:19-cr-00061-JVS, the public was able to
 7    listen to the sentencing hearing this afternoon, on July 8, 2021. Had there not been
 8    an access line, the public would never have been able to know or hear the genuine
 9    remorse in Avenatti’s voice when he did his allocation and would not have been
10    able to hear the effectiveness of counsel’s arguments on both sides. Nor would the
11    public have had the benefit of hearing the extremely capable and overly intelligent
12    District Court judge who had an extreme command of the facts, which is a
13    testament to the entire judiciary and how the system works. The public needs to
14    know how brilliant the Court is in general in dispensing justice as well as this
15    Court’s keen intellect in its rulings and tentatives.
16           This specific Court has all the above attributes and more and the public
17    would benefit from the wisdom of this Court’s rulings, the rationale for them, and
18    this Court’s consistent dispensing of justice in California. Having a reporter filter
19    the actual analysis of the Court is a poor substitute for verbatim rulings with human
20    expression. In addition, it saves the public and the bar resources that may not be
21    available to listen to a long trial in person.
22           The public would be severely disadvantaged if public access was restricted
23    and not available. If possible, this request is made with the utmost respect and is
24    only asking for this Court to consider it. Numerous members of the public
25    benefitted from today’s sentencing and access to the Courts is an important concept
26    for an important case if possible. Ultimately, it is up to this Court but this firm felt
27    obliged to make the humble request and thanks the Court in advance for any
28    consideration it may provide.


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 1
 2                                       Respectfully Submitted,
 3
 4    Dated: July 8, 2021                Law Offices of Ronald Richards &
                                         Associates, APC
 5
 6                                       By:
                                              /s/ Ronald Richards
                                        ___________________________
 7
                                           Ronald Richards
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                             EXHIBIT A
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 1
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                                                                        June 11, 2021
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 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10                                                 )
     IN RE:                                        )   GENERAL ORDER NO. 21-08
11                                                 )
     CORONAVIRUS PUBLIC                            )   (Supersedes General Order No. 21-
12   EMERGENCY                                     )
                                                   )   07, General Order No. 21-06, General
13   ORDER CONCERNING PHASED                       )   Order No. 21-03, and Order of the
     REOPENING OF THE COURT                        )   Chief Judge No. 20-078)
14                                                 )
                                                   )
15
16
           WHEREAS, the Court adopted the Plan for Phased Resumption of Operations
17
     (“Reopening Plan”), which consisted of three phases: Phase 1 (return of certain staff to
18
     the courthouses to prepare for limited in-court hearings); Phase 2 (reopening
19
     courthouses for limited in-court hearings); and Phase 3 (resumption of jury trials);
20
           WHEREAS, the Reopening Plan was adopted to limit the public’s and the
21
     Court’s exposure to COVID-19; and
22
           WHEREAS, the Centers for Disease Control and Prevention and the State of
23
     California have lifted, or will soon lift, many of the previous restrictions regarding
24
     mandatory physical distancing and face coverings for individuals vaccinated against
25
     COVID-19;
26
           Upon unanimous vote of the Executive Committee, the Court orders as follows:
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28
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 1
           1.    All of the divisions of the Central District of California will resume
 2
                 normal operations on June 15, 2021.
 3
           2.    Hearings by video or telephonic conference may continue to be held in
 4
                 civil matters at the discretion of the assigned judge.
 5
           3.    Hearings by video or telephonic conference may continue to be held in
 6
                 certain criminal matters as set forth in Order of the Chief Judge No. 20-
 7
                 043, unless the findings and authorizations in the Order are subsequently
 8
                 terminated.
 9
           4.    All individuals seeking entry to, or occupying, the United States
10
                 Courthouses or Probation and Pretrial Services Offices in the Central
11
                 District of California must follow the Centers for Disease Control and
12
                 Prevention’s most recent guidance regarding face coverings or masks,
13
                 except under certain circumstances during in-court proceedings as noted
14
                 below.
15
                       a.      If the Centers for Disease Control and Prevention’s most
16
                               recent guidance or a district judge requires an individual to
17
                               wear a mask, the mask must completely conceal the
18
                               individual’s nose and mouth at all times.
19
                       b.      The United States Marshal, his Deputies, and the Court
20
                               Security Officers shall enforce this Order and deny entry to
21
                               individuals not following the Centers for Disease Control and
22
                               Prevention’s most recent guidance regarding face coverings
23
                               or masks.
24
           5.    To protect public health and safety, the following protocols are adopted
25
                 for all in-court proceedings:
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27
28                                               2
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 1
                       a.     Everyone in the courtroom must follow the Centers for
 2
                              Disease Control and Prevention’s most recent guidance
 3
                              regarding face coverings and masks.
 4
           6.    Judges will continue to determine when their chambers staff will return to
 5
                 work at the Courthouses. The District Court Executive/Clerk of Court
 6
                 will continue to determine when and which Clerk’s Office and Probation
 7
                 and Pretrial Services Office staff will return to the Courthouses.
 8
           This Order shall take effect on June 15, 2021.
 9
10
           IT IS SO ORDERED.
11
12
                                    ________________________________________
13
                                      CHIEF UNITED STATES DISTRICT JUDGE
14
15
           Date of Approval by the Executive Committee:               June 10, 2021
16
17
           Date of Filing by the Clerk:                               June 11, 2021
18
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                       EXHIBIT B
      Case 8:19-cr-00061-JVS Document 530 Filed 07/09/21 Page 10 of 12 Page ID #:9191
                                                                                 ECF,PRIOR

                                U.S. District Court
                    Southern District of New York (Foley Square)
          CRIMINAL DOCKET FOR CASE #: 1:19-cr-00373-PGG All Defendants


Case title: USA v. Avenatti                                    Date Filed: 05/22/2019

Magistrate judge case number: 1:19-mj-02927-UA


Assigned to: Judge Paul G. Gardephe

Defendant (1)
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                                                                ATTORNEY TO BE NOTICED

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                                                               ATTORNEY TO BE NOTICED

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                                                               Fax: (212) 571-0392
                                                               Email: sylvie_levine@fd.org
                                                               TERMINATED: 03/25/2018
                                                               LEAD ATTORNEY
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

                                                               Benjamin Adam Silverman
                                                               Law Office of Benjamin Silverman
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                                                               New York, NY 10001
     Case 8:19-cr-00061-JVS Document 530 Filed 07/09/21 Page 11 of 12 Page ID #:9192
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                                                      212-637-1947
                                                      Email: matthew.podolsky@usdoj.gov
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

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                                                               Designation: Assistant US Attorney

                                                               Daniel Charles Richenthal
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                                                               Email: daniel.richenthal@usdoj.gov
                                                               ATTORNEY TO BE NOTICED


Date Filed    #   Docket Text
07/08/2021        Minute Entry for proceedings held before Judge Paul G. Gardephe: Sentencing held on
                  7/8/2021 for Michael Avenatti (1) Count 1s,2s,3s. Sentence held. Defendant M. Avenatti
                  present with attorneys Scott Srebnick and E. Danya Perry. AUSAs Matthew Podolsky,
                  Robert Sobelman and Daniel Richenthal present. See Judgment for terms of sentence.
                  (Court Reporter Michael McDaniel) (ap) (Entered: 07/08/2021)
07/06/2021   337 ORDER as to Michael Avenatti: The sentencing of the Defendant will take place on
                 Thursday, July 8, 2021 at 1:00 p.m. in Courtroom 705 of the Thurgood Marshall United
                 States Courthouse, 40 Foley Square,New York, New York. The press and public may
                 obtain access to the sentencing by telephone by dialing 888-363-4749 to participate, and
                 entering the access code 6212642. (Sentencing set for 7/8/2021 at 01:00 PM in
                 Courtroom 705, 40 Centre Street, New York, NY 10007 before Judge Paul G. Gardephe)
                 (Signed by Judge Paul G. Gardephe on 7/6/2021) (ap) (Entered: 07/06/2021)
07/06/2021   336 MEMORANDUM OPINION & ORDER as to Michael Avenatti. Defendant's post-trial
                 motions are denied. The Clerk of Court is directed to terminate the motions (Dkt. Nos.
                 291, 333). (Signed by Judge Paul G. Gardephe on 7/6/2021) (See ORDER set forth) (ap)
                 (Entered: 07/06/2021)
07/05/2021   335 REPLY MEMORANDUM OF LAW in Support by Michael Avenatti re: 321 Sentencing
                 Submission filed by USA, 317 Sentencing Submission filed by Michael Avenatti .
                 (Attachments: # 1 Exhibit 1: Factual Bases in US v. Litzenburg and US v. Kincheloe)
                 (Srebnick, Scott) (Entered: 07/05/2021)
07/05/2021   334 NOTICE of Filing Sentencing Letters as to Michael Avenatti (Srebnick, Scott) (Entered:
                 07/05/2021)
07/05/2021   333 LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                 dated July 5, 2021 re: Regnier witness statements . Document filed by Michael Avenatti.
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  1                                 PROOF OF SERVICE

  2   STATE OF CALIFORNIA)
  3                                : ss.
      COUNTY OF LOS ANGELES)
  4   I am employed in the County of Los Angeles, State of California. I am over the age
  5   of 18, and not a party to the within action; my business address is P.O. BOX 11480,
      BEVERLY HILLS, CA 90213.
  6   On the date indicated below, I served the foregoing documents described as:
  7
        REQUEST FOR REMOTE PUBLIC ACCESS VIA A CALL IN NUMBER OR
  8                          ZOOM CALL IN
                             in this action, by:
  9
 10    X    delivering via Email PDF, addressed below as follows:
 11
      Alexander
 12   Wyman alex.wyman@usdoj.gov,CaseView.ECF@usdoj.gov,USACAC.Criminal
      @usdoj.gov
 13
 14   Brett A.
      Sagel brett.sagel@usdoj.gov,CaseView.ECF@usdoj.gov,USACAC.SACriminal
 15
      @usdoj.gov
 16
      H. Dean Steward     deansteward7777@gmail.com,deansteward@fea.net
 17
 18
 19
       X     (State) I declare under penalty of perjury under the laws of the State of
 20   California that the foregoing is true and correct.
 21
      Executed on July 8, 2021, at Los Angeles, California.
 22                            /s Ronald Richards
 23                             _________________________
                                Ronald Richards
 24
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